                                              STATE OF NEW YORK
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                                                        November 8, 2018

         Hon. Mae A. D’Agostino
         U.S. District Court Judge
         U.S. District Court
         Northern District of New York

         Re:     Vidurek, et al. v. Cuomo, et al., USDC-NDNY No. 1:18-CV-392 (MAD/CFH)

         Dear Judge D’Agostino:

                  On October 9, 2018, this Court issued a Decision and Order granting the Defendants’
         Motion to Dismiss and directing that judgment be entered for each of the Defendants in this
         action. See Dkt. No. 28. On November 1, 2018, 23 days later, Plaintiffs filed a Motion for
         Reconsideration of the Court’s Order. See Dkt. No. 31. The Court has directed the Defendants
         to respond to that new motion, and the Defendants respectfully request to do so by this short
         letter brief.

                Plaintiffs Motion for Reconsideration must be denied for two primary reasons: (1) it is
         untimely, and (2) it is meritless.

                 First, in the Northern District of New York, “a party may file and serve a motion for
         reconsideration or reargument no later than FOURTEEN DAYS after the entry of the challenged
         judgment, order, or decree.” N.D.N.Y. Local Rule 7.1(g) (caps in the original). Here, 23 days
         past from the date of the entry of judgment until the date of the filing of the Motion for
         Reconsideration. That means that Plaintiffs motion is untimely and it could rightly be denied for
         that reason alone.

                 Second, in Krug v. City of Troy, 2010 U.S. Dist. LEXIS 130811 (N.D.N.Y. Dec. 10,
         2010), the Court set forth the standard for analyzing these types of motions:

                 A motion for reconsideration is not a substitute for an appeal. “The standard for
                 granting [a motion for reconsideration] is strict, and reconsideration will generally
                 be denied unless the moving party can point to controlling decisions or data that
                 the court overlooked – matters, in other words, that might reasonably be expected
                 to alter the conclusion reached by the court.” Shrader v. CSX Transp., Inc., 70
                 F.3d 255, 257 (2d Cir. 1995); see also Friedman v. S.U.N.Y. at Binghamton, 2006

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       U.S. Dist. LEXIS 72642, 2006 WL 2882980, at * 1 (N.D.N.Y. Oct. 5, 2006).
       “The high burden imposed on the moving party has been established in order to
       dissuade repetitive arguments on issues that have already been considered by the
       court and discourage litigants from making repetitive arguments on issues that
       have been thoroughly considered by the court [and] to ensure finality and prevent
       the practice of a losing party examining a decision and then plugging the gaps of
       the lost motion with additional matters.” Nowacki v. Closson, 2001 U.S. Dist.
       LEXIS 1678, 2001 WL 175239, *1 (N.D.N.Y. Jan. 24, 2001) (Munson, J.)
       (internal citations and quotations omitted). Reconsideration “is not a vehicle for
       relitigating old issues, presenting the case under new theories, securing a
       rehearing on the merits, or otherwise taking a ‘second bite at the apple.’” Sequa
       Corp. v. GBJ Corp., 156 F.3d 136, 144 (2d Cir. 1998). Reargument is also not a
       vehicle to “advance new facts, issues or arguments not previously presented to the
       court.” Polanco v. United States, 2000 U.S. Dist. LEXIS 13393, 2000 WL
       1346726, at *1 (S.D.N.Y. Sept. 19, 2000) (quoting Shrader, 70 F.3d at 256). “The
       Northern District of New York ‘recognizes only three possible grounds upon
       which a motion for reconsideration may be granted: (1) an intervening change in
       controlling law, (2) the availability of new evidence not previously available, or
       (3) the need to correct clear error of law to prevent manifest injustice.’”
       Friedman, 2006 U.S. Dist. LEXIS 72642, 2006 WL 2882980, at * 1 (quoting
       Nowacki, 2001 U.S. Dist. LEXIS 1678, 2001 WL 175239, at *1).

2010 U.S. Dist. LEXIS 130811, at *3-4.

       Because Plaintiffs here simply rehash the same meritless arguments that they asserted in
opposition to the Defendants’ Motion to Dismiss, Plaintiffs simply cannot satisfy the strict
requirements for the filing of a Motion for Reconsideration. This Court’s October 9, 2018
Decision and Order was very well reasoned, and it should therefore stand as the final
determination of this action.

       Thank you for your consideration of this matter.

                                                                 Respectfully yours,
                                                                 s/ Michael McCartin
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